
*757OPINION.
Siefkin:
The single issue in controversy in this proceeding is whether the $2,918,034 fixed as the purchase price of the stock of goods, appraised on the basis of cost or market value, whichever was lower, included any sum paid for good will of Rothschild &amp; Co.
We think the evidence is clear that such value was fixed as the value of the merchandise only. It was reached by the representatives of the parties to the sale after a careful check of the various elements mailing up the total current inventory value as shown by the seller’s stock sheets.
The evidence likewise is clear that no good will or going-concern asset of value was purchased. We have found as a fact that Rothschild &amp; Co. had not been successful. Petitioner refused to negotiate on any basis assigning a value to good will. Petitioner did not think Rothschild &amp; Co. had any good will. Such opinion is evidenced by testimony and by the fact that the business was conducted after purchase under a new name. The total purchase price was determined by adding together the value fixed in the separate preliminary appraisal of the several assets. Neither good will nor going-concern value was considered as an asset.

The deficiency is $33,970.67. Decision will be entered accordingly.

